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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

         Plaintiff,

                 v.                                  CRIMINAL NO. 15-612 (PAD)

 HENRY PEREZ-DIAZ (4),

         Defendant.


                                            ORDER

       The court has evaluated the Report and Recommendation made by U.S. Magistrate Judge

Silvia Carreño-Coll regarding the Rule 11 proceeding of defendant, Henry Pérez-Díaz (Docket No.

130), to which no objections have been filed. The court finds the plea entered by the defendant

was knowingly, voluntary and intelligently entered with awareness of his rights and the

consequences of pleading guilty. The plea is therefore accepted and the defendant is adjudged

guilty as to Counts One and Ten of the Indictment.

       The court notes that a Presentence Investigation Report was ordered (Docket No. 125). The

Sentencing Hearing is set for October 17, 2016 at 9:30 a.m. The parties shall file their sentencing

memoranda not later than October 7, 2016.

       SO ORDERED.

       In San Juan, Puerto Rico, this 21th June, 2016.

                                                      S/Pedro A. Delgado-Hernández
                                                      PEDRO A. DELGADO HERNANDEZ
                                                      United States District Judge
